             Case 1:22-cr-00040-JEB Document 37 Filed 03/17/23 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA            : CRIMINAL NO. 1:22-CR-40
                                        :
                                        :
    V.                                  :
                                        :
                                        :
    SANDRA WEYER                        : (JUDGE BOASBERG)
                                        :

                                MOTION TO WITHDRAW

       AND NOW, this 17th day of March 2023, comes Jonathan W. Crisp, and
files this Motion to Withdraw as Counsel, averring as follows:

1. The Defendant was indicted on 2 February 2022, and charged with the

     following:

         a. Count 1: Obstruction of an Official Proceeding and Aiding and Abetting;1

         b. Count 2: Entering and Remaining in a Restricted Building or Grounds;2

         c. Count 3: Disorderly and Disruptive Conduct in a Restricted Building or

            Grounds;3

         d. Count 4: Disorderly Conduct in a Capitol Building;4

         e. Count 5: Parading, Demonstrating, or Picketing in a Capitol Building;5

2. The defendant, Sandra Weyer, has retained Nicholas Smith as new counsel

     of record.


1 18 USC §§ 1512(c)(2), and 2
2 18 USC § 1752(a)(1)
3 18 USC § 1752(a)(2)
4
  40 USC § 5104(e)(2)(D)
5
  40 USC § 5104(e)(2)(G)
          Case 1:22-cr-00040-JEB Document 37 Filed 03/17/23 Page 2 of 4



3. Mr. Smith entered his appearance on 28 February 2023 date. Docket entry

  number

4. Undersigned counsel has confirmed with the defendant, Sandra Weyer, that

  she no longer desires to proceed with Mr. Crisp, and has consented to Mr.

  Crisp’s withdraw and proceed solely with Mr. Smith as her retained counsel.

5. Mr. Crisp has spoken with Mr. Smith and confirmed his availability for the

  currently set trial date of June 2023.

6. Assistant United States Attorney Jennifer Blackwell concurs in this motion.

WHEREFORE, it is respectfully requested that this Honorable Court grant
undersigned counsel’s Motion to Withdraw as Counsel. In accordance with Local
Rule 44.5.




                                           Respectfully submitted,

                                           CRISP AND ASSOCIATES, LLC
Date: 17 March 2023                        /s/    Jonathan Crisp
                                           Jonathan W. Crisp, Esquire
                                           4031 N. Front Street
                                           Harrisburg, PA 17110
                                           I.D. # 83505
                                           (p) (717) 412-4676
                                           jcrisp@crisplegal.com
                                           Attorney for Defendant
           Case 1:22-cr-00040-JEB Document 37 Filed 03/17/23 Page 3 of 4



                      CERTIFICATE OF CONCURRENCE


        I, Jonathan W. Crisp, Counsel for Defendant, Sandra Weyer, hereby

certifies that Assistant United States Attorney, Jennifer Blackwell, has no

objections to the foregoing Motion.



Date:     17 March 2023                         /s/  Jonathan Crisp
                                                Jonathan W. Crisp, Esquire
         Case 1:22-cr-00040-JEB Document 37 Filed 03/17/23 Page 4 of 4




                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was served
on the individual listed below:

                          ELECTRONIC SERVICE

                        Jennifer Blackwell, Esquire
                  US ATTORNEY GENERAL'S OFFICE/DC
                             555 4th Street, N.W.
                           Washington, DC 20530
                           Phone: (202) 803-1590
                    Email: jennifer.blackwell3@usdoj.gov

                               Nicholas D. Smith
                             David B. Smith PLLC
                      1123 Broadway Townsend Building
                                   Suite 909
                             New York, NY 10010
                            Phone: 917-902-3869
                       Email: nds@davidbsmithpllc.com

                               Sandra S. Weyer
                                 21 Bare Road
                         Mechanicsburg, PA 17055
                      Email: theoceanforever@gmail.com

                           USPS MAIL SERVICE

                             Sandra S. Weyer
                               21 Bare Road
                          Mechanicsburg, PA 17055


Date: 17 March 2023                     /s/   Jonathan Crisp
                                        Jonathan W. Crisp, Esquire
                                        CRISP AND ASSOCIATES, LLC
                                        4031 N. Front Street
                                        Harrisburg PA 17110
                                        (717) 412-4676, (717) 412-4679 /fax
